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2/11/23, 1:58 AM                                               Gmail - Water Service 170 Coolidge



                                                                                                    Eric Witt <ericwitt34@gmail.com>



  Water Service 170 Coolidge
  2 messages

  Danette Ruvalcaba <druvalcaba@bennett.co.us>                                                            Fri, Dec 16, 2022 at 1:21 PM
  To: ericwitt34@gmail.com
  Cc: Trish Stiles <tstiles@bennett.co.us>

    Mr. Witt,

    Your account has not been paid since July. Per Town code and the agreement you signed when your account was
    established water service may be disconnected after 60 days of delinquency.

    You were sent at least two other letters via the USPS and a door hanger was posted at 170 Coolidge stating a
    disconnection date prior to 12/26/2022.

    However as courtesy the Town will restore your water service today do to the letter you received giving a date of
    12/26/2022.

    This email will serve as notice that Town Hall is closed on the 26th in observance of Christmas. Therefore if your water is
    not paid in full by 12/27/2022 at 9:00 am, your water service will be disconnected and service will not be restored until a
    time in which your account is fully paid.

    Please direct all correspondence regarding this matter to me.

    Danette Ruvalcaba
    Director of Finance
    Town of Bennett




  Eric Witt <ericwitt34@gmail.com>                                                                       Sat, Dec 17, 2022 at 2:57 AM
  Draft To: Danette Ruvalcaba <druvalcaba@bennett.co.us>

    Ms
    [Quoted text hidden]




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